

People v Scott (2025 NY Slip Op 50155(U))



[*1]


People v Scott (Andre)


2025 NY Slip Op 50155(U)


Decided on February 14, 2025


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on February 14, 2025
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Brigantti, J.P., James, Perez, JJ.



570789/18

The People of the State of New York, Respondent,
againstAndre Scott, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, Bronx County (Marsha D. Michael, J.), rendered August 28, 2018, convicting him, upon his plea of guilty, of driving while intoxicated, and sentencing him to, among other things, a fine of $1,000.




Per Curiam.
Judgment of conviction (Marsha D. Michael, J.), rendered August 28, 2018, affirmed.
We perceive no basis for reducing the sentence.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concurDecision Date: February 14, 2025









